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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                                DIVISION


TO:                               ALL PARTIES

RE:                               USBC RULE 8010(b)(3) NOTICE and
                                  BANKRUPTCY APPEAL BRIEFING SCHEDULE

DATE:                             12/01/2022

USDC CASE NO:                     1:22-CV-4355-SCJ

BANKRUPTCY CASE NO:               22-51326-WLH

FEE STATUS:                       PAID

Pursuant to Bankruptcy Rule 8010(b)(3), notice is hereby given that the record on appeal
from the United States Bankruptcy Court for the Northern District of Georgia in the
above-styled case was received and entered on the docket of the United States District
Court for the Northern District of Georgia on 12/01/2022.

Pursuant to Bankruptcy Rule 8018(a)(1), the appellant shall serve and file a brief within
30 days after the docketing of notice that the record has been transmitted or is available
electronically.

Pursuant to Bankruptcy Rule 8018(a)(2), the appellees shall serve and file a brief within
30 days after service of the brief of the appellant.

Pursuant to Bankruptcy Rule 8018(a)(3), the appellant may serve and file a reply brief
within 14 days after service of the appellees’ brief.

The Notice of Appeal will be transmitted to the United States District Judge, Honorable ,
for a ruling at the expiration of time for filing of briefs as indicated above, unless a
different time is prescribed by Order of the District Court. Pursuant to Local Rule of this
Court, no hearing on appeal will be granted unless specifically requested at the time
briefs are filed, and then only in the discretion of the District Court.

 Dated: December 1, 2022

                                                  KEVIN P. WEIMER, CLERK and
                                                  DISTRICT COURT EXECUTIVE

                                                   s/ D. McGoldrick
                                           By:    Deputy Clerk
